     Case 15-13369      Doc 249     Filed 12/01/18 Entered 12/01/18 16:53:59            Desc Main
                                     Document     Page 1 of 2

                          UNITED STATES BANKRUPTCY COURT
                     EASTERN DIVISION, DISTRICT OF MASSACHUSETTS

In re:
                  Andre Bisasor                  Chapter 7
                                          Debtor Case No. 15-13369-JNF

                               REPLY TO TRUSTEE’S RESPONSE TO
                       JOINT MOTION FOR APPROVAL OF SETTLEMENT

        NOW COMES David G. Baker, an administrative creditor in the above captioned case, and
replies as follows to the trustee’s response to the joint motion for approval of a settlement of
Baker’s adversary proceeding seeking a finding of non-dischargeability as to his administrative
claim, and in support of this motion state as follows:

1.       Admitted.
2.       Admitted.
3.       Admitted.
4.       Admitted.
5.       Admitted.
6.       Admitted.
7.       The trustee’s objection is meritless for the following reasons
8.       It is true that footnote two refers to Massachusetts law regarding attorney’s liens. The
         “case” at issue, however, is the bankruptcy case, not the pre-petition litigation. Cf. In re
         Steenstra, 307 BR 732 (1st Cir. 2004). While Steenstra pertained to a levy on funds held by
         the chapter 13 trustee, the distinction between a levy and a lien seems not to make a
         substantial difference. In any event, it is not necessary to pursue a lien theory since the
         debtor has voluntarily (with the advice and assistance of successor counsel and after
         mediation) agreed to the Settlement.
9.       Admitted.
10.      Admitted upon information and belief.
11.      Admitted upon information and belief.
12.      Admitted upon information and belief.
13.      I lack knowledge or information sufficient to respond.
14.      The Agreement provides that if there are no funds available from the estate (a fact that
         remains to be seen), then the debtor will pay the balance himself.
15.      Leaving aside the unnecessary comment about a “journey down this fantasy lien rabbit
         hole”, the allegation is legal argument that appears to be unsupported by any facts or law.
         To the extent that the trustee is suggesting that the Settlement implicates a surcharge on the
         debtor’s exemption, that is not permissible and is not what is requested. Law v. Siegel, 134
         S. Ct. 1188 (2014). On the other hand, the Bankruptcy Code does not prohibit a debtor from
  Case 15-13369          Doc 249      Filed 12/01/18 Entered 12/01/18 16:53:59            Desc Main
                                       Document     Page 2 of 2

          voluntarily paying any debt. 11 USC §524(f). That is what the debtor is agreeing to do by
          way of this Agreement.
16.       I decline to respond to the trustee’s hyperbolic legal argument.
17.       FURTHER RESPONDING, as stated above, if the chapter 7 estate is administratively
          insolvent, as the trustee implies, that does not prevent the court from approving the
          settlement since if no funds are available from the estate, the balance of the settlement will
          be paid by the debtor voluntarily. The trustee does not argue that the Settlement is
          unreasonable, per se.

          WHEREFORE I request that the Settlement be approved.

1 December 2018
                                                     Respectfully submitted,
                                                     David G. Baker, plaintiff


                                                     /s/ David G. Baker
                                                     David G. Baker, Esq.
                                                     236 Huntington Avenue Room 317
                                                     Boston, MA 02115
                                                     Telephone: (617) 367-4260
                                                     BBO# 634889
                                                     david@bostonbankruptcy.org

                                          Certificate of Service

The undersigned hereby states upon information and belief that the within Reply was served on the
parties named below by the court’s CM/ECF system on the date set forth above.

                                                         /s/ David G. Baker
                                                         David G. Baker

      •   John Aquino -jja@andersonaquino.com, jaquino@ecf.epiqsystems.com
      •   Donna Ashton on behalf of Creditor Greystar Management Services LP as agent for owner
          RAR2-Jefferson at Dedham Station MA Inc. - dma@ashton-law.com
      •   Donald F. Farrell, Jr. on behalf of Trustee John Aquino - dff@andersonaquino.com
      •   Michael B. Feinman on behalf of Mediator Michael B. Feinman - mbf@feinmanlaw.com,
          kmk@feinmanlaw.com
      •   John Fitzgerald - USTPRegion01.BO.ECF@USDOJ.GOV
      •   Dmitry Lev on behalf of Defendant Andre Bisasor - dlev@levlaw.net, ecf-
          notices@levlaw.net
      •   John C. Ottenberg on behalf of Creditor Foley Hoag LLP - ottenberg@odllp.com




                                                     2
